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UNITED STATES DISTRICT COURT
EASTERN DlSTRlCT OF VIRGINIA

 

lntersections, lnc., et al.
Plaintiff,
v.
Joseph C. Loomis, et al.,

Defendant.

Case No. l:09cv597 (LMB/TCB)

 

 

 

NOTICE OF HEARING

PLEASE TAKE NOTICE that on Friday, April l5, 2011, at 10:00 a.m., or as soon
thereafter as counsel may be heard, Defenclant Joseph C. Loomis, by eounsel, Will move this
Honorable Court for hearing on Defendant’s Objeetions to Report and Recomrnendation for

Entry of Default Judgrnent Against Joseph C. Loomis, previously filed With the Court.

Respectfully submitted,

/s/

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CERTIFICATE OF SERVICE

1 hereby certify that on this 1St day of April, 2011, l have filed a true and correct copy of the
foregoing With the Clerk of Court via the CM/ECF efiling system Which Will send notification of

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this filing to the following counsel of record:

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